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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


Brian Garcia,

                Plaintiff,                                 19 CV 2518

        vs.                                                Hon. Virginia M. Kendall

C.C.D.O.C. Officer Richard,
C.C.D.O.C. Officer Allen, and                              Magistrate Judge
C.C.D.O.C. Officer Tom Dart,                               Maria Valdez

                Defendants.

                       DEFENDANTS’ ANSWER AND AFFIRMATIVE
                        DEFENSES TO PLAINTIFF’S COMPLAINT

        Defendants Officer Hardy Richard, and Officer Brian Allen (“Defendants”), by their

attorney KIMBERLY M. FOXX, State’s Attorney of Cook County, through her Assistant State’s

Attorney, SAMUEL COMI, submit the following answer and affirmative defenses to the complaint

of Plaintiff, Brian Garcia (“Plaintiff”):

        1.      On or about September 19, 2017 Plaintiff was arrested by Alsip Police

Department. Plaintiff was then placed into custody at Cook County on September 21, 2017. On

1-03-18 Plaintiff was housed in the medical unit, Division 8, RTU 3-F (Due to having a fractured

skull from an unrelated injury). During Plaintiff’s time living in Division 8, RTU, 3F, Plaintiff

had several problems/arguments with inmate Deon Clopton #20161203194 and Plaintiff made a

request to Officer Richard and Officer Allen to be moved to a different living unit because he

was in fear for his safety and wanted to avoid problems. Plaintiff was told by both Officer

Richard and Officer Allen that ((he couldn’t pick and choose where he was housed and for him

to deal with it.))
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       ANSWER:         Defendants admit that Plaintiff was housed on Division 8, RTU on

January 3, 2018. Defendants admit that Deon Clopton was housed on the same tier with

Plaintiff. Defendants deny that Plaintiff asked to be moved out of fear for his safety. Defendants

lack knowledge to admit or deny the remaining allegations in Paragraph 1.

       2.      On 2-13-18 Plaintiff once again got into another verbal altercation with inmate

Deon Clopton #20161203194 while plaintiff was sitting down in a chair. Both Officer Richard

and Officer Allen were present during this altercation.

       ANSWER:         Defendants admit the allegations contained in paragraph 2.

       3.      Deon Clopton then began to verbally threaten Plaintiff (saying that he was going

to physically assult plaintiff) while both officers sat there listening to Cloptons threathes and

doing nothing to stop it.

       ANSWER:         Defendants admit to being present for the verbal altercation, but deny

hearing threats and deny doing nothing to stop the altercation from escalating.

       4.      Plaintiff then began to once again fear for his safety and put on his shoes.

       ANSWER:         Defendants admit that Plaintiff put on his shoes, but lack knowledge to

admit or deny the remainder of the allegation in paragraph 4.

       5.      Inmate Clopton and Plaintiff then began to exchange words which turned into a

psychical altercation. Inmate Clopton knocked Plaintiff down to the ground and began to

psychically punch plaintiff in the face and head over 20 times.

       ANSWER:         Assuming that Plaintiff intended “psychical” and “psychically” to

respectively mean “physical” and “physically,” Defendants admit the allegations in paragraph 5.

       6.       During this assult/beatdown, both Officer Richard and Officer Allen were both

literally standing a few feet away watching it happen.
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        ANSWER:        Defendants admit the allegations to the extent that they allege that

Defendants were present during a physical altercation between Plaintiff and Deon Clopton.

Defendants deny the remainder of the allegations in paragraph 6.

        7.     Plaintiff was on the ground with Deon Clopton on top of Plaintiff punching his

face & head while Plaintiff was yelling and screaming for help.

        ANSWER:        Defendants admit that Plaintiff was on the ground with Deon Clopton on

top of him punching his head area. Defendants deny the remaining allegations in paragraph 7.

        8.     Both Officer Richard and Officer Allen ignored Plaintiff’s pleas. Both Officers

did nothing to help. Both Officers stood there watching inmate Clopton beat Plaintiff without

doing anything to stop it.

        ANSWER:        Defendants deny the allegations in paragraph 8.

        9.     Finally after punching Plaintiff in the face over 20 times, inmate Clopton got off

of Plaintiff while other officers/backup began to arive.

        ANSWER:        Defendants admit the allegations in paragraph 9.

        10.    There are several video cameras on the living unit 3-F, division 8 RTU, that

record at all times that will clearly show the assult as well as clearly show both Officer Richard

and Officer Allen both just standing there watching it happen.

        ANSWER:        Defendants admit to the existence of video cameras on the tier and the

existence of recordings from such cameras of the altercation between Deon Clopton and

Plaintiff. Defendants deny the remainder of the allegations contained in paragraph 10.

        11.    Officer Richard and Officer Allen did not try to pull inmate Clopton off of

Plaintiff.

        ANSWER:        Defendants admit the allegations contained in paragraph 11.
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        12.    Officer Richard and Officer Allen did not try to use their mace in order to stop

inmate Clopton from beating plaintiff.

        ANSWER:        Defendants admit that they did not attempt to use mace to stop the

altercation between inmate Clopton and Plaintiff.

        13.    Both officers just stood there watching it happen without doing anything to help

Plaintiff.

        ANSWER:        Defendants deny the allegations in paragraph 13.

        14.    Plaintiff was then taken to Stroger Hospital where he had to receive stitches above

his eye because it was busted open and bleeding. Plaintiff also had other injuries such as several

cuts inside his mouth, two black eyes, as well as several knots, bruses and cuts.

        ANSWER:        Defendants admit that Plaintiff was injured in the altercation with Deon

Clopton. Defendants lack knowledge to admit or deny the scope of such injuries.

                                  AFFIRMATIVE DEFENSES

        Further answering Plaintiff’s complaint, Defendants allege the following separate

affirmative defenses against Plaintiff.

                                                   I.
                                          Qualified Immunity

        6.     With respect to the Plaintiff’s claims, the individual defendants Hardy Richard

 and Brian Allen did not cause the deprivation of any constitutional rights of Plaintiff.

        7.     The conduct of Defendants was at all times objectively reasonable and did not

 violate any of Plaintiff’s clearly established Constitutional rights.

        8.     Accordingly, Defendants are all entitled to the defense of qualified immunity.

                                                  II.
                                          Failure to Mitigate
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        9.     To the extent it is revealed that Plaintiff failed to take reasonable measures to

mitigate his alleged injuries and damages, those facts shall be presented to preclude recovery for

Plaintiff.

                                         JURY DEMAND

        With regard to any issue that may be appropriately heard by a jury in this cause of action,

Defendants hereby demand a jury trial.

        WHEREFORE, based on the foregoing, Defendants, Hardy Richard and Brian Allen,

deny that Plaintiff is entitled to any relief, including but not limited to, damages, costs and

attorneys’ fees. Defendants pray that this Court grant judgment in favor of the Defendants and

against the Plaintiff on all counts, and further requests that this Court grant judgment in favor of

the Defendants and against the Plaintiff for costs, attorneys’ fees and such other relief that this

Court deems just and appropriate.

                                              Respectfully Submitted,

                                              KIMBERLY M. FOXX
                                              State’s Attorney of Cook County

                                      By:     /s/ Samuel J. Comi
                                              Samuel J. Comi
                                              Assistant State’s Attorneys
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                               CERTIFICATE OF SERVICE

I, Samuel J. Comi, hereby certify that in accordance with Fed. R. Civ. P. and LR 5.5 and the
General Order on Electronic Case Filing (ECF), the Defendants’ Answer and Affirmative
Defenses to Plaintiff’s Complaint was served via regular U.S. Mail with proper postage paid on
October 23, 2019.



                                                    /s/ Samuel J. Comi

                                                   Samuel J. Comi

Service List:

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